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 9   Attorneys for Plaintiff JESSIE RODRIGUEZ, an individual, and CAL
     AMERICAN HOMES AND REALTY, a California Corporation
10
11                      UNITED STATES DISTRICT COURT
12
                   THE CENTRAL DISTRICT OF CALIFORNIA
13
14   JESSIE RODRIGUEZ, an individual;         Case No.:
     CAL AMERICAN HOMES AND
15   REALTY, a California Corporation,        COMPLAINT FOR:
16                                            1. FRAUD IN THE INDUCEMENT;
                                              2. INTENTIONAL
17                     Plaintiff,                INTERFERENCE WITH
18         v.                                    PROSPECTIVE ECONOMIC
                                                 ADVANTAGE;
19
     ENGEL & VOLKERS AMERICAS,                3. NEGLIGENT INTERFERENCE
20   INC., a Delaware Corporation; and           WITH PROSPECTIVE
21   DOES 1 to 100,                              ECONOMIC ADVANTAGE;
                                                 AND
22                     Defendant.             4. VIOLATION OF CALIFORNIA
23                                               BUS. AND PROF. CODE §§17200
                                                 et seq.
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                                      COMPLAINT
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 1         Plaintiffs Jessie Rodriguez and Cal American Homes hereby allege as
 2   follows:
 3                                      THE PARTIES
 4      1. Plaintiff JESSIE RODRIGUEZ (“RODRIGUEZ”) is and at all times
 5   relevant to the complaint hereto was an individual residing in Los Angeles,
 6   California.
 7      2. Plaintiff    CAL     AMERICAN            HOMES      AND      REALTY        (“CAL
 8   AMERICAN”) is and at all times relevant to the complaint hereto was a
 9   corporation registered and with its principal place of business in California.
10   (Collectively, RODRIGUEZ and CAL AMERICAN referred to as the
11   “Plaintiffs”).
12      3. Defendant     ENGEL & VOLKERS AMERICAS, INC. (“E&V” or
13   “Defendant”) is and at all times relevant to the complaint hereto was a Delaware
14   Corporation with its principal place of business in New York. At all times relevant
15   hereto, E&V conducted business in California.
16      4. The true names and capacities, whether individual, corporate, associate,

17   partner, or otherwise, of DOES 1 through 100 inclusive, are unknown to Plaintiffs
18   who therefore sue said Defendants by such fictitious names. Plaintiffs will move
19   to amend this complaint to show their true names and capacities when the same
20   have been ascertained.
21      5. Plaintiffs are also unaware of the basis of liability as to some or all of the

22   fictitious Defendants sued herein as DOES 1 through 100, inclusive, but believe
23   that their liability arises out of the same general facts as set forth herein. Plaintiffs
24   will move to amend this complaint to assert the theories of liability of said
25   fictitiously named Defendants when the same have been ascertained.
26      6. Plaintiffs are informed and believe, and on that basis allege, that at all times

27   relevant to this complaint, there existed and still exists a unity of interest and
28   ownership between some portion of the DOE defendants who are individuals,

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 1   partnerships, and/or corporations, and Defendant, such that any individuality,
 2   independence, and separateness between them ceased such that the DOES are the
 3   alter egos of Defendant. These DOES used the assets of Defendant for their own
 4   personal use. As such, Defendant is, and at all times relevant to this complaint
 5   was, a mere shell, instrumentality, or conduit through which these DOES carried
 6   on their business, exercising complete control and dominance of those entities to
 7   such an extent that any individuality, independence, or separateness between these
 8   DOES and Defendant is fictional and did not and does not exist.
 9                                        VENUE
10      7. Venue is proper in this court as some or all of the events and happenings
11   herein alleged giving rise to this complaint occurred within the jurisdictional
12   district and jurisdictional monetary amount in excess of $75,000, of the above-
13   entitled court.
14                             GENERAL ALLEGATIONS
15      8. Allegations made in this complaint that pertain to Plaintiff are made upon

16   information and belief, unless otherwise indicated.
17      9. CAL AMERICAN is a residential real estate service that assists individuals

18   in buying and selling residential real property in the Los Angeles, California area.
19      10. Defendant E&V is a multinational real estate brokerage that has franchise

20   locations around the United States and the rest of the world. E&V’s primary goal
21   with respect to CAL AMERICAN was to use CAL AMERICAN as a franchise
22   location to obtain royalties from sales made by CAL AMERICAN. In return,
23   E&V would provide training and techniques that were purportedly of great value
24   and would increase CAL AMERICAN’s sales.
25      11. On or about May 13, 2020, Plaintiff RODRIGUEZ, acting in his capacity as

26   principal for Plaintiff CAL AMERICAN, signed a franchise agreement
27   (“Agreement”) with Defendant E&V. A true and correct copy of the Agreement is
28   attached hereto as Exhibit “A” and incorporated herein by reference.

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                                          COMPLAINT
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 1      12. The Agreement provides at Item 5 that the franchisee must pay a non-
 2   refundable “Admission Fee” in order to obtain the benefits of the Agreement, such
 3   as training and the protected area. CAL AMERICAN never paid any fees to E&V.
 4   The Agreement not only provided for a very large amount of royalties and fees to
 5   be paid to E&V, but also included a purportedly strict covenant not to compete
 6   during the term of the Agreement. (See Agmt., Items 5, 6, 7, and Exhibit C,
 7   Appendix 4.) The term of the Agreement was to last for ten years. (Agmt., Item
 8   17.)
 9      13. The Agreement further dictated that E&V would allow CAL AMERICAN
10   to work within a “protected area” where they would not have to be in direct
11   competition with other E&V franchises. (Agmt., Item 12.)
12      14. The Agreement described at great length that E&V would provide valuable

13   trade secrets to CAL AMERICAN, and that this proprietary information had to be
14   safeguarded and could not be shared with anyone else. (Agmt. Item 1, Exhs. C, F).
15   This gave Plaintiffs the illusion of a great wealth of knowledge that CAL
16   AMERICAN would benefit from. In reality, the very limited information shared
17   had essentially no value. The training provided was very cursory, basic, and did
18   not provide any new or useful information to Plaintiffs.
19      15. The   Agreement provided for mandatory training which Plaintiff
20   RODRIGUEZ was supposed to undergo in his capacity as principal for CAL
21   AMERICAN. After attending approximately four hours of the scheduled training
22   sessions, Plaintiff RODRIGUEZ began to see and understand that the training was
23   nowhere near the quality or caliber that E&V had promised. Plaintiff
24   RODRIGUEZ’s assistant also attended a short amount of training and confirmed
25   to RODRIGUEZ that the training was of poor quality.
26      16. E&V’s conduct and the Agreement gave the impression of incredibly

27   valuable training to be given to the franchisee, CAL AMERICAN. However, the
28   Agreement and the training were of little value to the Plaintiffs. Plaintiff

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 1   RODRIGUEZ only needed to see a small portion of the training to realize that it
 2   would not be worth his time and effort.
 3      17. Shortly after attending the limited training, RODRIGUEZ spoke to E&V’s
 4   agent, (“JS”) and informed JS that he did not wish to continue with the Agreement
 5   because of the poor quality of the training and the high amount of capital
 6   investment required for such a sub-par product. During the meeting between
 7   Plaintiff RODRIGUEZ and JS, numerous excuses were made as to why the
 8   training was not what was promised, RODRIGUEZ stated that he did not wish to
 9   continue with the relationship. At the end of this meeting, it was clear to both
10   RODRIGUEZ and JS that the relationship had been terminated. JS never indicated
11   to RODRIGUEZ that Plaintiffs were bound to E&V in any way, and he essentially
12   wished RODRIGUEZ luck in his future endeavors.
13      18. Following this meeting, RODRIGUEZ sent a confirming email message to

14   E&V indicating that the business relationship had been terminated. This email
15   message was a written memorialization of the understanding between
16   RODRIGUEZ and JS, acting in his capacity as an agent for E&V. E&V therefore
17   knew that Plaintiffs were pursuing other business opportunities at that time.
18      19. Following the termination of the Agreement between Plaintiffs and E&V,

19   RODRIGUEZ, acting in his capacity as the principal for CAL AMERICAN,
20   sought out alternative business relationships through the creation of a new
21   franchise relationship with another party.
22      20. Following a meeting regarding a new franchise investment opportunity,

23   RODRIGUEZ received notice of Defendant’s claim that Plaintiffs were in breach
24   of the Agreement. E&V claimed that Plaintiffs could not enter into franchise
25   relationships with other potential franchisors, pursuant to the covenant not to
26   compete contained in the Agreement.
27      21. Plaintiffs lost a valuable business opportunity as a result of the Defendant’s

28   actions. Plaintiffs continue to be harmed daily by the ongoing insistence of

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 1   Defendant to attempt to enforce the Agreement after its termination, by, including
 2   but not limited to, E&V demanded money damages from Plaintiffs, and Plaintiffs
 3   lost new business relationships given E&V’s baseless claims against Plaintiffs.
 4      22. With the current climate of the Southern California residential real estate
 5   market, E&V would likely have been able to secure an alternative franchisee
 6   rather easily had they exercised any real effort in doing so. However, instead of
 7   exercising even minimal effort to find a new franchisee, E&V intentionally
 8   interfered in Plaintiff’s business relationship with a third party and caused damage
 9   to Plaintiff’s reputation and business relationships.
10      23. In sum, E&V actively encouraged Plaintiffs to enter into the franchise
11   relationship with promises of incredibly valuable training and other consideration,
12   yet E&V failed to deliver on its bargain after Plaintiff signed the Agreement and
13   devoted time and energy to taking part in the limited training. E&V instead
14   delivered a poor product of little or no value to Plaintiffs, which leads to the
15   conclusion that E&V never fully intended to provide any great value to Plaintiffs.
16      24. On April 2, 2021, Plaintiffs sent a final demand letter to E&V, setting forth

17   their dispute and demand for immediate action by E&V and for damages. A true
18   and correct copy of the letter is attached hereto as Exhibit “B” and incorporated
19   herein by reference.
20                             FIRST CAUSE OF ACTION
21                   (Fraud in the Inducement Against all Defendants)
22      25. Plaintiffs incorporate preceding paragraphs 1 through 24 as though fully set

23   forth herein.
24      26. E&V committed all acts stated in paragraphs 10, 11, 12, 13, 14, 15, 16, 17,

25   18, 20, 21, and 23 as set forth hereinabove.
26      27. Defendant    E&V      fraudulently       induced   RODRIGUEZ     and   CAL
27   AMERICAN to enter into the Agreement by knowingly making material
28   misrepresentations of facts that Defendant knew or should have known were false,

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 1   including, but not limited to,
 2            a. E&V had a proprietary training system that would help to grow
 3              Plaintiff’s business and reach and that would help increase profits;
 4            b. E&V would provide the training to CAL AMERICAN’s principals and
 5              employees as a part of the Agreement; and
 6            c. The training to be offered was of great value and would expand
 7              Plaintiff’s knowledge of the business of real estate sales.
 8      28. As described herein, E&V made certain false statements to Plaintiffs that
 9   were material to Plaintiff’s decision to enter into the Agreement with E&V. This
10   representation involved the quality and the value of the training and related
11   services to be provided by E&V under the Agreement. E&V claimed that the
12   training was of high quality and would provide Plaintiffs with knowledge that
13   would allow them to excel in the area of residential real estate. E&V further
14   suggested that the services to be rendered would increase the sales of CAL
15   AMERICAN and would allow the business to grow and flourish. However, all of
16   these representations turned out to be false.
17      29. The material misrepresentations made to CAL AMERICAN by E&V were

18   false and were either known by E&V to be false or should have been known to be
19   false.
20      30. E&V     intended for CAL AMERICAN to rely on these material
21   misrepresentations, and CAL AMERICAN did in fact so rely on such
22   misrepresentations. CAL AMERICAN executed the Agreement with E&V as a
23   result of and in reliance of the material misrepresentations made by E&V.
24      31. Plaintiff’s reliance on the material misrepresentations by E&V was

25   reasonable as E&V held themselves out to Plaintiff as experts in the field of
26   residential real estate and Plaintiff had no reason to doubt such assertion until he
27   had undergone a portion of the training program required under the Agreement.
28      32. The conduct of Defendants was intentional and committed willfully,


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 1   maliciously, with fraud, oppression, ill will and in conscious disregard of
 2   Plaintiffs’ rights, and constitutes clear and convincing evidence of despicable,
 3   outrageous, oppressive, and malicious conduct pursuant to California Code of
 4   Civil Procedure section 3294. Plaintiffs are entitled to punitive and exemplary
 5   damages against Defendants, in an amount as the jury may find necessary for the
 6   sake of example to punish Defendants for their unlawful conduct and in an
 7   amount sufficient to deter Defendants, from engaging in similar conduct against
 8   others in the future.
 9      33. As a direct result of E&V’s misrepresentations, Plaintiff has incurred and
10   continues to incur damages, including but not limited to, the inability to secure
11   alternative franchise relationships from E&V’s insistence that the covenant not to
12   compete is enforceable, loss of potential profits to have been made from securing
13   alternative business relationships, and attorney’s fees and costs related to
14   enforcing their rights under California law. Plaintiff is therefore entitled to
15   damages, both actual and punitive, recission of the Agreement, as well as
16   attorney’s fees and costs.
17                            SECOND CAUSE OF ACTION
18    (Intentional Interference with Prospective Economic Advantage Against all
19                                       Defendants)
20      34. Plaintiffs incorporate preceding paragraphs 1 through 24 as though fully set

21   forth herein.
22      35. E&V committed all the acts stated in paragraphs 17, 18, 20, and 23 as set

23   forth hereinabove.
24      36. In or around October 2020, Plaintiff established a business relationship with

25   a third party that would have provided CAL AMERICAN with great economic
26   benefit through the creation of an alternative franchise relationship.
27      37. Around that same time, E&V insisted on enforcement of the Agreement and

28   the purported covenant not to compete against CAL AMERICAN, even though in

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 1   the Agreement E&V actually acknowledged that the covenant not to compete
 2   “may not” be valid or enforceable. The covenant not to compete is not valid or
 3   enforceable under California law. See e.g., Comedy Club, Inc., v. Improv West
 4   Associates, 553 F.3d 1277,1292 (9th Cir. 2009) (internal quotations omitted)
 5   quoting Kelton v. Stravinski, (2006) 138 Cal.App.4th 941, 947-48 (“In the
 6   franchise context, Cal. Bus. & Prof. Code § 16600 prohibits an in-term covenant
 7   not to compete that will foreclose competition in a substantial share of the affected
 8   line of commerce.”) See also Ixchel Pharma LLC v. Biogen Inc., (2020) 9 Cal.5th
 9   1130, 1163 (holding that a “rule of reason” applies to contractual provisions that
10   prevent one business from engaging in lawful conduct with another.) Notice of
11   E&V’s threats and demand for damages regarding the purported covenant not to
12   compete caused Plaintiffs’ new business agreement with a third party to cease,
13   because the third party did not wish to be embroiled in litigation.
14      38. In spite of the fact that the covenant not to compete is unenforceable in

15   California and E&V was aware that the covenant was not enforceable, E&V still
16   took the aforementioned actions and otherwise harassed Plaintiffs.
17      39. E&V knew of CAL AMERICAN’s new business relationship or quickly

18   learned of its existence and took the above referenced actions to interfere.
19      40. E&V’s contact with the potential franchisor disrupted the relationship

20   between the franchisor and CAL AMERICAN as CAL AMERICAN was then
21   unable to secure that coveted franchise agreement.
22      41. CAL AMERICAN suffered and continues to suffer harm due to the willful,

23   malicious actions of E&V in that CAL AMERICAN has been unable to partner
24   with other businesses in order to earn a greater market presence and therefore
25   greater profits.
26       42. The conduct of Defendant was intentional and committed willfully,

27   maliciously, with fraud, oppression, ill will and in conscious disregard of
28   Plaintiff’s rights, and constitutes clear and convincing evidence of despicable,

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 1    outrageous, oppressive, and malicious conduct pursuant to California Code of
 2    Civil Procedure section 3294. Plaintiff is entitled to punitive and exemplary
 3    damages against Defendant, in an amount as the jury may find necessary for the
 4    sake of example to punish Defendant for their unlawful conduct in an amount
 5    sufficient to deter Defendant, from engaging in similar conduct against others in
 6    the future.
 7        43. As a direct and proximate result of Defendant’s conduct, Plaintiffs were
 8    harmed by Defendant’s conduct in an amount of at least $250,000, as well as
 9    attorney’s fees and other litigation costs, according to proof at trial. Plaintiff seeks
10    all damages as well as pre-judgement and post judgement interest.
11                               THIRD CAUSE OF ACTION
12      (Negligent Interference with Prospective Economic Advantage Against all
13                                         Defendants)
14       44. Plaintiffs incorporate preceding paragraphs 1 through 24 above, as though

15    fully set forth herein.
16       45. Defendant E&V committed all of the acts stated in paragraphs 17, 18, 20,

17    and 23 as set forth hereinabove.
18       46. In or around October 2020, Plaintiff CAL AMERICAN established a new

19    potential franchise relationship with a third party that would have provided a great
20    financial benefit to Plaintiffs.
21       47. E&V insisted on attempting to enforce the covenant not to compete against

22    CAL AMERICAN, even though E&V acknowledged in the Agreement that the
23    covenant not to compete would likely not be enforceable under California law. As
24    noted above, the covenant not to compete is invalid under California law. See
25    Comedy Club, supra, at 1292, quoting Kelton, supra at 947-48. See also Ixchel,
26    supra, at 1163. Notice of E&V’s threats and demand for damages regarding the
27    purported covenant not to compete caused Plaintiffs’ new business agreement
28    with a third party to cease, because the third party did not wish to be embroiled in

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 1    litigation.
 2       48. E&V knew, suspected, or should have known that the purported covenant
 3    not to compete was not enforceable under California law as evidenced by the fact
 4    that E&V alluded to this possibility in the Agreement.
 5       49. In spite of the fact that the covenant not to compete is unenforceable in
 6    California and E&V was aware that the covenant was not enforceable, E&V still
 7    took the above referenced acts to interfere.
 8       50. E&V’s wrongful contact with the potential franchisor disrupted the
 9    relationship between the franchisor and CAL AMERICAN because CAL
10    AMERICAN was unable to secure that coveted franchise agreement.
11       51. As a direct and proximate result of Defendant’s conduct, Plaintiffs were
12    harmed by Defendant’s conduct in an amount of at least $250,000, according to
13    proof at trial. Plaintiff seeks all damages.
14                              FOURTH CAUSE OF ACTION
15    (Violation of California Bus. and Prof. Code §§ 17200 Against all Defendants)
16       52. Plaintiff incorporates preceding paragraphs 1 through 24 above, as though

17    fully set forth herein.
18       53. Business and Professions Code section 17200, et seq. (Unfair Competition

19    Law or UCL) prohibits any unlawful, unfair, or fraudulent business act or
20    practice, any unfair, deceptive, untrue, or misleading advertising, and any
21    violation of Business and Professions Code section 17500 et seq.
22       54. By the foregoing alleged acts set forth in paragraphs 10 through 23, E&V

23    perpetrated business acts that are unlawful, unfair, and/or fraudulent under the
24    UCL because those acts are prohibited under California law and are fraudulent or
25    unfair to Plaintiffs.
26       55. E&V’s unlawful acts violated the California Franchise Investment Law

27    (“CFIL”), codified at Corporations Code §§ 31200-31203 et seq by, among other
28    things, making material misrepresentations regarding the quality and content of its

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 1    training program.
 2       56. E&V violated the California Franchise Relations Act (“CFRA”) codified at
 3    Bus. and Prof. Code § 20021(c), et seq by, among other things, refusing to allow
 4    for the termination of the Agreement in writing, as the email sent by
 5    RODRIGUEZ following his discussion with JS served as a written
 6    memorialization of the termination of the Agreement.
 7       57. The unlawful, unfair, and fraudulent practices of Defendant, as outlined
 8    above, present a continuing threat and an ongoing injury to Plaintiffs, which in the
 9    absence of equitable or injunctive relief, will continue to be unable to take
10    advantage of business opportunities and will potentially lose those opportunities to
11    competitors. Plaintiffs request injunctive relief enjoining E&V from further
12    misconduct through similar actions as those referenced herein.
13       58. Plaintiffs additionally request actual damages, in an amount to be proven at

14    trial and attorney’s fees and costs.
15                                 PRAYER FOR RELIEF
16       59. Plaintiffs incorporate all preceding paragraphs as though fully set forth

17    herein. WHEREFORE, Plaintiffs pray for judgement against Defendant as
18    follows:
19    For the First Cause of Action:
20          1. For punitive damages in an amount subject to proof at trial;

21          2. For recission of the Agreement; and

22          3. For pre-judgement and post judgement interest.

23 For the Second Cause of Action:
24        1. For punitive damages in an amount subject to proof at trial; and
25          2. For Pre-judgement and post judgement interest.
26    For the Fourth cause of Action:
27          1. For injunctive relief preventing Defendant from misleading other
28               franchisees and potential franchisees in the same way as the Plaintiffs

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 1             herein; and
 2          2. For pre-judgement and post judgement interest.
 3    As to all Causes of Action:
 4          1. For actual damages in an amount of no less than $250,000, subject to
 5             proof at trial; and
 6          2. For attorney’s fees and costs incurred in enforcing Plaintiff’s rights.
 7
 8    Dated: April 6, 2021                    KIMURA LONDON & WHITE LLP
 9
10
11                                    By:     /s/ Darrell P. White
12                                            Darrell P. White, Esq.
                                              Attorney for Plaintiffs
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 1                             DEMAND FOR JURY TRIAL
 2       1. Plaintiffs hereby demand a trial by jury.
 3
 4    Dated: April 6, 2021               KIMURA LONDON & WHITE LLP
 5
 6
 7                                    By: /s/ Darrell P. White
 8                                        Darrell P. White, Esq.
                                          Attorney for Plaintiffs
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